   8:03-cr-00269-JFB-FG3 Doc # 30 Filed: 11/10/05 Page 1 of 1 - Page ID # 109



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )      CASE NO. 8:03CR269
                                            )
      vs.                                   )
                                            )
                                            )          JUDGMENT
TIBRUSIO MARTINEZ,                          )
                                            )
                    Defendant.              )



      Pursuant to the Memorandum and Order entered on this date, judgment is entered

in favor of the government and against the defendant. The defendant's “Motion to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody” (Filing No. 27) is

dismissed, with prejudice.

      DATED this 10th day of November, 2005.

                                        BY THE COURT:



                                        s/ Joseph F. Bataillon
                                        JOSEPH F. BATAILLON
                                        United States District Judge
